                   IN THE UNITED STATES DISTRICT COURT

           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                   :
                                           :
              v.                           :      1:20CR500-1
                                           :
EDWARD LAMONT GLOVER                       :



     GOVERNMENT’S SUPPLEMENTAL BRIEF IN OPPOSITION TO
      DEFENDANT’S MOTION TO WITHDRAW HIS GUILTY PLEA

      NOW COMES the United States of America, by and through Sandra J.

Hairston, United States Attorney for the Middle District of North Carolina,

and respectfully requests that the Court deny the defendant’s motion to

withdraw his guilty plea because he has not presented a “fair and just reason”

to withdraw his plea of guilty under Federal Rule of Criminal Procedure

11(d)(2)(B), as follows:

      On June 17, 2021, defendant filed a supplemental memorandum to his

motion and brief requesting to withdraw his guilty plea. (Docket Entry #33).

In defendant’s memorandum, he concedes that the Supreme Court’s decision

in Greer v. United States, -- S. Ct. -- , 2021 WL 2405146 (June 14, 2021)

nullifies his objections to an alleged Rehaif error in his indictment.




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      However, defendant still wishes to withdraw his guilty plea but has not

provided a fair and just reason to withdraw his plea as required by Fed. R.

Crim. P. 11 or controlling Fourth Circuit precedent set forth in United States

v. Moore, 931 F.2d 246, (4th Cir. 1991) and its progeny. In deciding whether

to grant a defendant’s motion to withdraw a guilty plea, the “factors relevant

to this determination are (1) whether the defendant had close assistance of

competent counsel; (2) whether he credibly asserts his innocence; (3) the extent

of delay between guilty plea and motion to withdraw it; and (4) whether

withdrawal at the time attempted would prejudice the government or waste

judicial resources.” United States v. Craig, 985 F.2d 175, 178 (4th Cir. 1993)

(citing Moore). The government addressed the Moore factors in its original

response. (DE #29). Defendant’s counsel was competent. Defendant has not

asserted his innocence; in fact, he states in his supplemental memorandum

that he “has never denied responsibility or claimed actual innocence.” (DE

#33). Defendant wishes to withdraw his guilty plea so that he may file a motion

to suppress. However, “suppression of evidence does not amount to legal

innocence.” United States v. Wintons, 468 F. App'x 231, 233 (4th Cir. 2012)

(unpublished). Defendant waited almost three months after entering his guilty

plea to file his motion to withdraw. His Rule 11 colloquy was sound and his

decision to plead guilty was both knowing and voluntary. Defendant has not

shown a fair and just reason to withdraw his plea.

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      For all the reasons set forth above and in its previous filing, the

government respectfully submits that the defendant’s motion to withdraw his

guilty plea be denied.

      This the 21st day of June, 2021.

                                    Respectfully submitted,

                                    SANDRA J. HAIRSTON
                                    Acting United States Attorney


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                          CERTIFICATE OF SERVICE

      I hereby certify that on June 21, 2021, the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the following:

      Peter D. Zellmer, Esq.

                                      Respectfully submitted,

                                      SANDRA J. HAIRSTON
                                      Acting United States Attorney




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